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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

    STATE OF ARIZONA, et al.,

                                      PLAINTIFFS,

    v.                                              CIVIL ACTION NO. 6:22-cv-01130

    MERRICK GARLAND, in his official
    capacity as Attorney General of the United
    States, et al.,

                                    DEFENDANTS.


          MEMORANDUM IN SUPPORT OF THE PLAINTIFF STATES’ MOTION FOR
                    LIMITED JURISDICTIONAL DISCOVERY
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                                            INTRODUCTION

          The Plaintiff States respectfully seek targeted, exceedingly modest jurisdictional discovery

   to address concerns raised by this Court regarding the States’ standing. Specifically, the States

   seek an order requiring Defendants to produce high-level data from the Asylum Rule’s actual

   implementation now that it has been in effect for more than four months (from May 31, 2022 to

   the present), including (1) grant/denial rates for asylum claims under the Asylum IFR,

   (2) comparative historical data on those rates, and (3) the States in which asylum grantees are

   settling, to the extent that Defendants possess such data.

          Such data could readily resolve this Court’s standing inquiry: if the grant rate has increased

   under the Asylum IFR and those additional migrants are settling in Plaintiff States, it follows that

   the Plaintiff States have Article III standing. As the Fifth Circuit has explained, “if the total number

   of in-State aliens increases, the States will spend more on healthcare.” Texas v. Biden (“Texas

   MPP”), 20 F.4th 928, 969 (5th Cir. 2021) (emphasis omitted). Similarly, the Fifth Circuit has held

   that “at least some MPP-caused immigrants will certainly seek educational and healthcare

   services.” Texas v. Biden (“Texas MPP Stay”), 10 F.4th 538, 548 (5th Cir. 2021).

          There is no reason to believe that asylum recipients—including those who would have been

   denied asylum under the older, more-stringent system that actually comports with the underlying

   statutes—would not also “certainly seek educational and healthcare services,” thereby increasing

   the States’ costs and establishing Article III standing. Id. Finally, this Court has recently

   recognized that “an increase in border crossings … will increase the state’s costs for healthcare

   reimbursements, the provision of educational services, and the administration of its driver’s license

   program.” Louisiana v. CDC, __ F.Supp.3d __, 2022 WL 1604901, at *7 (W.D. La. May 20, 2022)




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          The Fifth Circuit has also made plain that these sorts of challenges to broad national

   immigration policies are “precisely the sort of large-scale policy that’s amenable to challenge using

   large-scale statistics and figures.” Texas MPP, 20 F.4th at 971.

          The upshot is that if the Asylum IFR is resulting in higher grant rates of asylum and those

   asylum recipients choose to reside in any of the 20 Plaintiff States, it essentially flows inexorably

   from controlling precedent that the Plaintiff States here will have Article III standing. Conversely,

   if grant rates are flat or declined, or asylum recipients are exclusively settling elsewhere, the

   Plaintiff States will have a much more difficult hill to climb (and, depending on the clarity of the

   data, would seriously consider voluntarily dismissing this suit). Indeed, this Court has at prior

   hearings recognized the importance of this data.

          For these reasons, it makes eminent sense for Defendants to produce the actual

   implementation data, which will enormously streamline and simplify this Court’s standing inquiry.

   Producing such data should impose only a de minimis burden on Defendants—they presumably

   already keep such data in the ordinary course of business, so the burden likely consists only of

   modest compilation of it and reducing it to useful form. Plaintiffs are certainly willing to be flexible

   as to format, so long as the relevant substantive data is produced.

          The States requested that Defendants provide statistics about implementation of the

   Asylum IFR, but Defendants have refused. The States have therefore filed the instant motion.

                                          LEGAL STANDARD

          “When ‘there is a ... factual question regarding a district court’s jurisdiction, the district

   court must give the plaintiff ample opportunity to secure and present evidence relevant to the

   existence of jurisdiction.’” Box v. Dallas Mexican Consulate Gen., 487 F. App’x 880, 884 (5th

   Cir. 2012) (quoting Hansen v. PT Bank Negara Indon. (Persero), TBK, 601 F.3d 1059, 1063–64


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   (10th Cir.2010). For this reason, the Fifth Circuit requires that “[w]hen a district court makes

   factual determinations decisive of a motion to dismiss for lack of jurisdiction, it must give plaintiffs

   an opportunity for discovery and a hearing that is appropriate to the nature of the motion to

   dismiss.” McAllister v. F.D.I.C., 87 F.3d 762, 766 (5th Cir. 1996) (citing Williamson v. Tucker,

   645 F.2d 404, 414 (5th Cir. 1981)); see also, Enter. Int'l, Inc. v. Corporacion Estatal Petrolera

   Ecuatoriana, 762 F.2d 464, 475 (5th Cir. 1985) (“The district court correctly decided that the

   record does not permit it to decide whether it has jurisdiction ... and ordered further discovery to

   enable the essential facts to be determined.”)

           Other circuits have similarly held that jurisdictional discovery is appropriate in contexts

   such as this one. As the Ninth Circuit has explained, jurisdictional discovery should be granted

   where “discovery on th[e] issue might well demonstrate facts sufficient to constitute a basis for

   jurisdiction.” Harris Rutsky & Co. Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1135

   (9th Cir. 2003) (emphasis added). “Discovery should ordinarily be granted where pertinent facts

   bearing on the question of jurisdiction are controverted or where a more satisfactory showing of

   the facts is necessary.” Butcher’s Union Local No. 498 v. SDC Investment, Inc., 788 F.2d 535, 540

   (9th Cir. 1986) (citation omitted). Indeed, such discovery is required even if it would be merely

   “useful” for purposes of establishing federal subject matter jurisdiction. Laub v. U.S. Dep’t of

   Interior, 342 F.3d 1080, 1093 (9th Cir. 2003) (denial of discovery not an abuse of discretion only

   when “it is clear that further discovery would not demonstrate facts sufficient to constitute a basis

   for jurisdiction”).

                                               ARGUMENT

           The Asylum IFR went into effect on May 31, 2022. Asylum IFR, 87 Fed. Reg. 18,078,

   18,078 (Mar. 29, 2022). Defendants have announced that they are implementing the IFR in phases


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   and contended that it would not change asylum grant rates. Asylum IFR, May 18, 2022 Hearing

   Transcript at 79:6-80:15; 87 Fed. Reg. at 18,186 (“[T]he Departments expect that USCIS’s asylum

   grant rate will be approximately the same as EOIR’s”); Asylum IFR, 87 Fed. Reg 18,078, 18,185

   (discussing plans for phased implementation and explaining that “[t]he Departments ... anticipate

   limiting referrals under the initial implementation of this rule to noncitizens apprehended in certain

   Southwest border sectors or stations, as well as based on the noncitizen's final intended destination

   (e.g., if the noncitizen is within a predetermined distance from the potential interview location”)).

   The States, on the other hand, have alleged, based on historical data, that USCIS’s asylum grant

   rate will exceed EOIR’s. Defendants now have four months of hard data that will provide powerful

   evidence of whose premise was correct. This data should be readily available to Defendants. For

   example, in Florida. v. United States, No. 21-CV-1066, ECF No. 78-3 at 148:11-14 (N.D. Fla.

   2021), the federal government produced information about aliens released into the United States

   on parole who listed Florida addresses as their intended place of residence, including statistics

   about how many aliens had failed to check in with DHS for further processing. Defendants should

   have to produce in this case equivalent information about aliens granted asylum, and they should

   have to do now—i.e., before the States have potentially further many more months of harm from

   the IFR if they are correct.

          The States reasonably expect that the higher rate of aliens granted asylum under the IFR is

   significant. Furthermore, under federal law, aliens who claim Asylum and are paroled into the

   United States become eligible for a variety of State benefits.1 These State benefits, which impose


   1
     See 8 U.S.C.A. § 1641(b)(4) (defining a “qualified alien” as “an alien who is paroled into the
   United States under [8 U.S.C. § 1182(d)(5)] for a period of at least 1 year”); 8 U.S.C. § 1612
   (2)(L) (making eligible for food stamps aliens who have been “‘qualified aliens’ for a period of 5
   years or more”); 8 U.S.C. § 1613(a) (making qualified aliens eligible for “any Federal means-
   tested public benefit ... 5 years” after “the date of the alien's entry into the United States”).
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   significant costs on the States, include Medicaid2; SNAP (also known as “food stamps”)3; and

   TANF (also known as welfare payments).4

          An increased number of asylum-claiming aliens in the States will cause quantifiable

   financial harm to the States, and the exact magnitude of those harms will be made clearer if the

   federal government produces statistics about the number of aliens settling in each of the states.

          To ensure that this case proceeds as efficiently and expeditiously as possible, the States

   accordingly move for the Court to issue an order requiring Defendants to produce the following

   statistics broken out week-by-week:

                 The number of asylum grants and denials since May 31, 2022 made (1) under the

                  new Asylum IFR in the areas where it has been implemented and (2) under the prior

                  regime in the areas where it has not. Numbers should be broken out by the

                  administrative and geographic divisions/sectors used by DOJ and DHS.

                 Numbers for asylum grants and denials for the three years prior to May 31, 2022,

                  broken out by the same administrative divisions used for the preceding inquiry.


   2
     E.g. Arizona Health Care Cost Containment System (“AHCCCS”), Medical Assistance
   Eligibility Policy Manual §§ 524A and 524B (defining “qualified noncitizen” to include
   “[p]arolee[s] for at least one year” and making such parolees eligible for benefits after the alien
   “[h]as been a qualified noncitizen for at least five years”)
   https://azahcccs.gov/Resources/guidesmanualspolicies/eligibilitypolicy/eligibilitypolicymanual/#
   t=Policy%2FChapter_500_Non-
   Financial_Conditions_of_Eligibility%2F524_NonCitizen_Status%2FA_Overview.htm and
   https://azahcccs.gov/Resources/guidesmanualspolicies/eligibilitypolicy/eligibilitypolicymanual/#
   t=Policy%2FChapter_500_Non-
   Financial_Conditions_of_Eligibility%2F524_NonCitizen_Status%2F524B.htm.
   3
     E.g. Ariz. Dep’t of Econ. Sec., Cash and Nutrition Assistance Policy Manual, §
   FAA3.D(04)(B), https://dbmefaapolicy.azdes.gov/#page/FAA3/Qualified_Noncitizens.html
   (“To be potentially eligible for [Nutrition Assistance]” aliens are required “to have been in parole
   status “for at least one year” and have been granted parole under 8 U.S.C. § 1182(d)5(A)).
   4
     E.g. Ariz. Admin. Code § R6-12-305 (making eligible for Cash Assistance (TANF) “a
   noncitizen legal alien who satisfies the requirements of [8 U.S.C. § 1641]”).
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                 The numbers of asylum recipients settling in each State, broken out by State, for

                  the last three years.

          This narrow scope of discovery will shed light on the States’ injuries from the Asylum IFR

   without imposing a substantial burden on Defendants and ensure the States’ Second Amended

   Complaint properly addresses standing.

          This case presents the important question of whether Defendants’ decision to implement

   an unlawful asylum system harms the States. Because Defendants have squarely placed Article III

   standing at issue, they should not be permitted to sit upon exceptionally relevant data that directly

   bears on the States’ standing. This Court should instead require production of that data.5

                                            CONCLUSION

          For the foregoing reasons, this Court should grant the States’ request for targeted

   jurisdictional discovery.




   5
      This Court is not limited to the administrative record (which has not been produced) in
   ascertaining the State’s standing. See, e.g., Nw. Envir. Def. Ctr. v. Bonneville Power Admin., 117
   F.3d 1520, 1528 (9th Cir. 1997). Indeed, courts routinely rely on extra-record evidence to support
   standing in APA cases. See, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 153–54
   (2010) (relying on declarations to find that plaintiffs had Article III standing in an APA
   case); Theodore Roosevelt Conservation P'ship v. Salazar, 616 F.3d 497, 507 (D.C. Cir. 2010)
   (same).

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   Dated: October 14, 2022                       Respectfully submitted,

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  * Pro hac vice application forthcoming
  ** Pro hac vice application granted




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